OPINION — AG — **** OKLAHOMA TAX COMMISSION — ESTATE TAX **** THE OKLAHOMA TAX COMMISSION MAY NOT REQUIRE A SURVIVING FEMALE SPOUSE TO FURNISH PROOF OF INTEREST IN THE DECEDENT'S TAXABLE ESTATE, WHILE NOT REQUIRING SUCH PROOF BY A SURVIVING MALE SPOUSE. UNDER 68 O.S. 1973 Supp., 807 [68-807], THE OKLAHOMA TAX COMMISSION MUST REQUIRE ADEQUATE PROOF, UNIFORMLY, FROM THE SURVIVOR CLAIMING AN INTEREST WITH THE DECENDENT IN THE PROPERTY CONSTITUTING THE TAXABLE ESTATE IRRESPECTIVE OF SEX.  WHEN BOTH SPOUSES WORK IN A FAMILY BUSINESS OR FARMING OPERATION, THE OKLAHOMA TAX COMMISSION MAY NOT PRESUME THAT EITHER SPOUSE CONTRIBUTED THE BUSINESS INCOME TO THE FAMILY TAXABLE  ESTATE. THE SURVIVING SPOUSE MAY OFFER PROOF OF CONTRIBUTION TO THE TAXABLE ESTATE BY SHOWING JOINT INCOME PRODUCING INDUSTRY.  SECTION 807(4) OF TITLE 68 OF THE OKLAHOMA STATUTES DOES NOT PRECLUDE A SURVIVING SPOUSE WHO IS A HOUSEWIFE FROM CLAIMING AN INTEREST IN THE TAXABLE ESTATE. SUCH SURVIVING SPOUSE HAS A CONSTITUTIONAL RIGHT TO CLAIM AND OFFER PROOF THAT HE LABOR, EFFORT, AND INDUSTRY IN THE HOME IS A CONTRIBUTION TO THE VALUE OF THE MATERIAL ACCUMULATIONS OF THE FAMILY, AND, THEREFORE, THE TAXABLE ESTATE. THE OKLAHOMA TAX COMMISSION MAY NOT PRESUME THAT SUCH HOUSEWIFE MADE NO CONTRIBUTION TO THE DECEDENT'S TAXABLE ESTATE.  THIS OPINION DOES NOT PRECLUDE SUBSEQUENT LEGISLATIVE ENACTMENT TO CLARIFY OR CHANGE THE STATUTORY PROVISIONS RELATING TO ESTATE TAXES. NEITHER SHOULD THIS OPINION BE CONSTRUED TO CREATE A PRESUMPTION OF EQUAL PARTICIPATION IN THE TAXABLE ESTATE, BUT RATHER REQUIRES THE OKLAHOMA TAX COMMISSION TO CONSIDER THAT CONTRIBUTION OF MONEY'S WORTH MAY BE ESTABLISHED BY A SPOUSE WORKING IN A FAMILY BUSINESS OR FARM OPERATION AND BY HOUSEWIFE. IN THAT WAY, THE CONTRIBUTION OF BOTH SPOUSES MAY BE RECOGNIZED REGARDLESS OF HOW THE INDIVIDUAL PARTIES MAY HAVE CHOSEN TO ARRANGE THEIR FAMILY UNIT IN TERMS OF LABOR, EFFORT AND ACQUISITION. (LARRY DERRYBERRY)